17-10060-shl         Doc 64       Filed 08/16/17 Entered 08/16/17 11:18:40            Main Document
                                                Pg 1 of 2



MORRISON COHEN LLP
Counsel for Praesidian II SPV 1, LP
Joseph T. Moldovan
Robert K. Dakis
909 Third Avenue
New York, NY 10022
Telephone: 212-735-8603
Facsimile: 917-522-3103

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                          :    Chapter 7
                                                               :
CLUB VENTURES INVESTMENTS LLC                                  :    Case No. 17-10060-SHL
d/b/a DAVID BARTON GYM, et al.,                                :
                                                               :    Jointly Administered
                           Debtors.                            :
----------------------------------------------------------------x

DECLARATION OF ROBERT K. DAKIS IN SUPPORT OF MOTION OF PRAESIDIAN
     II SPV 1, LP AS AGENT FOR RELIEF FROM THE AUTOMATIC STAY

ROBERT K. DAKIS declares the following to be true under penalties of perjury:


        1.       I am a member of Morrison Cohen LLP, counsel to Praesidian II SPV 2, LP

(“Praesidian”). I submit this declaration in support of Praesidian’s Motion (the “Motion”) for

relief from the automatic stay. The facts set forth herein are based on my personal knowledge

and my review of the records and legal filings relating to this matter.

        2.       Attached hereto as Exhibit A is a true and correct copy of a UCC Financing

Statement perfecting Praesidian’s liens under the Note Purchase Agreement, as defined in the

Motion, filed on November 19, 2013.

        3.       Attached hereto as Exhibit B is a true and correct copy of the Trust Report as of

May 3, 2017 showing the balance of funds remaining in escrow pursuant to the Escrow

Agreement, as defined in the Motion.
17-10060-shl        Doc 64   Filed 08/16/17 Entered 08/16/17 11:18:40          Main Document
                                           Pg 2 of 2



       Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoing is

true and correct.

Dated: New York, New York
       August 16, 2017


                                            By:    /s/ Robert K. Dakis
                                                   Robert K. Dakis




                                               2
